      Case 4:18-cv-00123-BMM-JTJ Document 1 Filed 09/18/18 Page 1 of 4



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                IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

SANDRA J. HORN,                               )   Cause No. ______________________
                                              )
                                              )
                     Plaintiff,               )     Judge ____________________
                                              )
                                              )
   vs.                                        )    PETITION AND NOTICE OF
                                              )    REMOVAL PURSUANT TO
                                              )
K&K TRUCKING, INC. and PETER                  )     28 U.S.C. §§ 1441 and 1446
BARBER,                                       )
                                              )
                                              )
                     Defendants.              )


TO: THE HONORABLE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MONTANA, GREAT FALLS DIVISION:

      COME NOW, Defendants K&K Trucking, Inc. and Peter Barber, and hereby

give notice to the above-entitled Court for removal of this cause from the Montana

Eighth Judicial District, Cascade County, to the above-entitled United States District

Court, Great Falls Division, pursuant to 28 U.S.C. §§ 1441 and 1446, and for its

grounds for removal allege as follows:

                                          1
Case 4:18-cv-00123-BMM-JTJ Document 1 Filed 09/18/18 Page 2 of 4



1. That the action is a civil action seeking damages stemming from a motor

   vehicle accident by filing a Complaint in the Montana Eighth Judicial

   District Court, Cascade County; that at all times involved, Plaintiff has

   been and is a resident and citizen of Alaska; that all times herein, the

   Defendant K&K Trucking, Inc. was a corporation organized and existing

   under and by virtue of the laws of the State of Montana, and its principal

   place of business is in Montana. Defendant Peter Barber, at all times

   involved is, and was, a resident and citizen of Montana.

2. From the content of the Complaint, it reasonably appears that the matter

   in controversy, exclusive of interest and costs, exceeds the sum of

   Seventy-five Thousand Dollars ($75,000.00) and is a suit respectively

   between a citizen of the State of Alaska, as a Plaintiff, and a corporation

   of the State of Montana and individual of the State of Montana, in that

   Plaintiff was at the time of filing said action, and ever since such filing,

   has been and now is a resident and citizen of Alaska. The above-entitled

   Court has jurisdiction of this case under, and by virtue of, the provisions

   of 28 U.S.C. § 1332. The amount in controversy, exclusive of costs and

   fees, exceeds the sum of $75,000.00.

3. That on or about August 28, 2018, by personal service, Plaintiff caused a

   Summons and Complaint to be served on K&K Trucking, Inc. and


                                    2
Case 4:18-cv-00123-BMM-JTJ Document 1 Filed 09/18/18 Page 3 of 4



   attached hereto as Exhibit A, is a copy of the Summons and Complaint so

   served.

4. That this Notice is filed within 30 days after service on Defendant K&K

   Trucking, Inc. issued by the state court.

5. That Defendants will, upon filing this Notice of Removal, forthwith give

   written notice thereof to the above-named Plaintiff and file with the

   Montana Eighth Judicial District Court, Cascade County, the Notice of its

   filing and request for transfer pursuant to Mont. R. Civ. P. 77(e), by

   which acts the above-entitled cause is removed from such State District

   Court to the above-captioned United States District Court, attached as

   Exhibit B.

 DATED this 18th day of September, 2018.

                                       BROWN LAW FIRM, P.C.


                                       BY      /s/ Scott G. Gratton
                                               Scott G. Gratton
                                               Attorney for Defendants




                                   3
      Case 4:18-cv-00123-BMM-JTJ Document 1 Filed 09/18/18 Page 4 of 4



                         CERTIFICATE OF SERVICE

            I hereby certify that on the 18th day of September, 2018, a copy of the
foregoing was served on the following persons by the following means:

       1,2         CM/ECF                                   Fax
                   Hand Delivery                            E-Mail
                   Mail                                     Overnight Delivery


       1.    Clerk of U.S. District Court

       2.    Brian Joos
             VISCOMI, GERSH, SIMPSON & JOOS, PLLP
             121 Wisconsin Ave
             Whitefish, MT 59937
             joos@bigskyattorneys.com
             Attorney for Plaintiff




                                                By:   /s/ Scott G. Gratton
                                                      Scott G. Gratton




                                            4
